         Case
         CaseNo.
              No.1:23-cv-01828-SBP
                  1:23-cv-01828-SP Document
                                   Document47 filed
                                               filed07/19/23
                                                     08/02/23 USDC
                                                              USDCColorado
                                                                   Colorado pg
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                   DISTRICT
                                                   __________OF COLORADO
                                                              District of __________

                         MONZU, LLC                                   )
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                            Civil Action No. 23-cv-01828-SP
                                                                      )
                  MEOW WOLF, INC., and                                )
                   MW DENVER, LLC,                                    )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) MEOW WOLF, INC., 1338 1st Street, Denver, CO 80204
                                           telephone 866-636-9969




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Jeffrey A. Land, 5865 Ridgeway Center Pkwy., Ste. 300, Memphis, TN 38120;
                                           telephone 901-322-8220




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:             07/19/2023                                                                      s/T.Gallagher
                                                                                          Signature of Clerk or Deputy Clerk
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